                        Case 2:20-cr-00407-AM Document 40 Filed 01/05/21 Page 1 of 1
                                                                                             tN/c   414/05
                                                                                            S4 s,
                                         UNITED STATES DISTRICT
                                                  WESTERN Dl STRICT OF TEXAS
                                                                                          ous1
                                                      DEL RIO DIVISION
UNITED STATES OF AMERICA

             V.                                                         Case N umber: DR:20-CR-00407( I )-AM
                                                                        USM Number: 45214-480
(I) DEMARCOSE DEANTHONY MONTGOMERY                                                                                  U.S.   A4         W/7X

                   Defendant
                                                                                                                              o 3
                                                                                                                                    20o
                                           JUDGMENT IN A CRIMINAL CASE
                                                                                                                      DEL f
                                     (For Offenses Committed On or Alter November 1, 1987)                                       TX

                  The defendant, (I) DEMARCOSE DEANTFIONY MONTGOMERY, was represented by Jack R, Stern.

                  On motion of the United States, the Court has dismissed Count(s) Two.

            The defiidant pled guilty to Count One of the Indictment on July 13, 2020. Accordingly, the defendant is
adjudged guilty of such Count, involving the following offense:

Title & Section                          Nature of Offense                                 Offense Eiidd                   Count
8   U.S.C.   §   1324                    Conspiracy to I'ransport Illegal Aliens           January 21, 2020                One


           As pronounced on December 3, 2020, the defendant is sentenced as provided in pages 2 through 6 of this
Judgment. The sentence is imposed pursuant to the Sentencing Reform Act of 1984.

                  It is further ordered that the defendant shall notify the United States Attorney for this district within 30 days
of any change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by
this Judgment are fully paid.       If ordered to pay restitution, the defendant shall   notilS' the Court and United States Attorney
of any material change      in   the defendant's economic circumstances.

                  Signed this 3rd day of December, 2020.




                  FtETURNED        EXCUThD
                                                                                            AI..IA MOSES
                                                                                   UNITED STATES DISTRICT JUDGE




Arresting Agency: BP - Del Rio
